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Case: 2:22-cv-00068-RLW Doc. #: IN
                                92-1THE  CHARITON
                                      Filed: 02/28/23COUNTY
                                                       Page: 1CIRCUIT   COURT
                                                               of 15 PageID #: 2050
             2                           KEYTESVILLE, MISSOURI

             3    ERIN BARTON,

             4                 Plaintiff,

              5   vs.                                        Case No. 22CH-CC00017

             6    MARIANO RODRIGUEZ, et al.,

             7                 Defendants.

              8   ------------------------------

             9    BRIAN MARRA, et al.,

            10                 Plaintiffs,

            11    vs.                                        Case No. 22CH-CC00019

            12    BNSF RAILWAY COMPANY, et al.,

            13                 Defendants.

            14    ------------------------------

            15    BRENT POWERS, et al.,

            16                 Plaintiffs,

            17    vs.                                      Case No. 22CH-CC00021

            18    MS CONTRACTING, LLC,

            19                 Defendant.

            20    ------------------------------

            21    SHAUN PHAN, et al.,

            22                 Plaintiffs,

            23    vs.                                      Case No. 22CH-CC00022

            24    MS CONTRACTING, LLC, et al.,

            25                 Defendants.

                        Melanie Forquer, Certified Court Reporter No. 1492
                                     Chariton County, Missouri
                                               Copy

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                                                                            EXHIBIT 20
                                                                    2:22-CV-00068-RLW
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                                                                           EXHIBIT 20
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                                                                           EXHIBIT 20
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                                                                           EXHIBIT 20
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                                                                           EXHIBIT 20
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                                                                           EXHIBIT 20
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                                                                           EXHIBIT 20
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                                                                           EXHIBIT 20
                                                                   2:22-CV-00068-RLW
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                                                                           EXHIBIT 20
                                                                   2:22-CV-00068-RLW
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                                                                           EXHIBIT 20
                                                                   2:22-CV-00068-RLW
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                                                                           EXHIBIT 20
                                                                   2:22-CV-00068-RLW
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                                                                           EXHIBIT 20
                                                                   2:22-CV-00068-RLW
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                                                                           EXHIBIT 20
                                                                   2:22-CV-00068-RLW
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                                                                           EXHIBIT 20
                                                                   2:22-CV-00068-RLW
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                                                                           EXHIBIT 20
                                                                   2:22-CV-00068-RLW
